                  Transcript of the Testimony of



                    LEE MORROW, M.D.
                             April 6, 2022



                    AUMICK vs CITY OF AVA

                         6:21-cv-03072-BP




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·1· ·the tissues and the carbon dioxide away from the
·2· ·tissues.· And when Steve Wood showed up -- you know,
·3· ·any healthcare worker would recognize that bleeding
·4· ·requires immediate attention.· When the EMT showed
·5· ·up, I didn't see any assessment at all on Mr. Aumick
·6· ·regarding his wounds.· Mr. Aumick was laying prone.
·7· ·There was blood everywhere.· There was the back and
·8· ·forth with the officer about a knife and knife
·9· ·wounds.· It's entirely plausible that he could have
10· ·had substantial wounds somewhere else on his body,
11· ·and those would need to be immediately identified,
12· ·and it would change the urgency of the medical
13· ·response.
14· · · · ·So I guess the biggest problem with Mr. Wood
15· ·was that there was no EMT services.· He acted in more
16· ·of a police officer's role in restraining Shane.· And
17· ·there was literally no assessment of Mr. Aumick's
18· ·medical needs.
19· · · · ·There was also, I would argue, no real
20· ·monitoring.· So, you know, if he's not going to do an
21· ·assessment, there could at least be some closer
22· ·monitoring of what's happening with Mr. Aumick as
23· ·he's laying on the ground.· And the video shows a
24· ·prolonged period where he's completely still and not
25· ·making any noises after this, you know, very lengthy,


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